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RK U.S. BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

In re

THE ROMAN CATHOLIC
BISHOP OF SAN DIEGO, a
California corporation sole,

Debtor.

 

Case No. 07-00939-A11
Chapter 11
ORDER TO SHOW CAUSE

RE: CONTEMPT OR OTHER
SANCTIONS

To: Roman Catholic Bishop of San Diego, Susan G. Boswell, its Counsel;

the Parishes of the Diocese of San Diego and the Organization of

Parishes, Jeffry Davis and Victor Vilaplana, their counsel; Rev. Bruce

J. Orsborn; and Rev. Michael Gallagher (“Respondents”).

YOU AND EACH OF YOU are directed to appear on April 11, 2007 at
2:00 p.m., in Department 2 of the United States Bankruptcy Court, 325 West

F Street, San Diego, California, to show cause why you should not be cited for

contempt of Court or be otherwise sanctioned in connection with the

following:
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At the time of filing its voluntary Chapter 11 case, the Roman Catholic
Bishop of San Diego (“RCBSD”) allegedly held property in trust for others,
namely, over 770 bank accounts which are reported under the RCBSD’s
taxpayer identification number (“the Alleged Parish Accounts”). [See J 14 of
Amended Statement of Financial Affairs filed March 29, 2007, D.E. #158]
Upon the filing of its bankruptcy case:

1. All legal and equitable interests of the debtor RCBSD in property,
wherever located and by whomever held, became property of the estate.
11 US.C. § 541(a)(1).

2. RCBSD may not transfer that property post-petition without
authorization by the Court. 11 U.S.C. § 549(a).

3. A creditor or other claimant such as the parishes may not undertake
any action to obtain possession of property of the estate or exercise control
over that property. 11 U.S.C. § 362(a)(3).

4, RCBSD as the holder of cash collateral (the Alleged Parish Accounts)
was prohibited from using the cash in said accounts, even in the ordinary
course of business, without a Court order. 11 U.S.C. § 363(a).’

On March 1, 2007, this Court held a hearing to consider the RCBSD’s
request for authorization to use its existing cash management system,
including the Alleged Parish Accounts, in the ordinary course of business.
The Court authorized the use of the existing cash management system on an
interim basis only, extending that order to March 6, 2007 and again to
April 11, 2007.

On March 17, 2007, Rev. Michael Gallagher, pastor of Our Lady of
Grace, distributed a letter stating, among other things, that this Court had

 

' Section 363(a) defines “cash collateral” as: “cash ... deposit accounts, or other cash
equivalents whenever acquired in which the estate and an entity other than the estate have an interest

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ordered parishes to obtain new taxpayer identification numbers for the
Alleged Parish Account and that this Court had ruled that all contributions
to the Annual Catholic Appeal are not considered the Debtor’s assets. [See
Letter of Michael Gallagher dated March 17, 2007, Ex. “A” to Decl. of Michael
Zimmer filed March 30, 2007, D.E. #167]

On March 29, 2007, Rev. Bruce Orsborn, on behalf of the parishes and
their newly-formed Organization of Parishes of the Roman Catholic Diocese
of San Diego, distributed a memo urging the parishes to obtain new taxpayer
identification numbers and immediately attempt to transfer to the parishes
the Alleged Parish Accounts by employing various strategies, depending
upon the bank’s reaction to that request. He represents that this action should
be undertaken on advice of counsel for the parishes and with the concurrence
of this Court. Further, he directs parishes to cooperate and consult with the
Diocese’ Payroll Department to avoid any disruption in processing of their
payroll. [See Special Communication of Rev. Bruce Orsborn dated March 29,
2007, Ex. A to Decl. of Rosa Lopez-Gonzalez filed April 2, 2007, D.E. #174]

Based on the foregoing, the following conduct by the following persons
and entities appears to materially misrepresent facts to the Court and the
Courts orders, as well as violate the Order of the Court and the above-cited
provisions of the Bankruptcy Code:

1. As to RCBSD and its counsel, Susan Boswell:

A. RCBSD and Boswell represented to the Court at the hearing
held March 1, 2007 that they were not seeking to have the Court determine
whether the Alleged Parish Accounts were either the Debtor’s property or the
parishes’ property. [See R.T. date March 1, 2007 at pages 10:16-25, 11:1-25 and
12:1-5, D.E. 174 (Ex. 2 to Response and Request of Union Bank filed April 2,
2007)]. Boswell represented no change in ordinary operations would occur

with respect to these accounts. Boswell represented to this Court that the

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RCBSD received no reports concerning the alleged parish accounts and has
no records for such accounts. [Id. at page 23:2-24]

B. It appears that RCBSD and Boswell have cooperated and
conspired with parishes to effectuate a post-petition transfer of the alleged
parish accounts. [See Gallagher letter] Further, it appears RCBSD regularly
receives information concerning parish accounts. [Decl. of Hamid R. Rafatjoo
and Ex. “C” and “D” thereto filed March 30, 2007, D.E. # 167)

2. As to the parishes of the RCDSD, the Organization of Parishes and
Jeffry Davis and Victor Vilaplana, their counsel:

A. Davis and the parishes represented to this Court that they
were not requesting a determination of ownership as to the Alleged Parish
Accounts and that they would look into the possibility of separate taxpayer
identification numbers prospectively. [R.T. dated March 1, 2007 at pages
27:25, 28:1-28 and 29:1-14]

B. It appears that atsome point the parishes formed Organization
of Parishes and may have obtained new or additional counsel, Victor
Vilaplana.

C. The Organization of Parishes on advice of their counsel Davis
and/or Vilaplana have attempted to exercise control over property of the
estate by counseling and encouraging parishes to obtain new taxpayer
identification numbers and attempting various stratagems to persuade the
banks to transfer account balances in the Alleged Parish Accounts to new
accounts. Further, it appears that by directing the parishes to consult the
Payroll Department of RCBSD, the Organization of Parishes and their counsel

Davis and/or Vilaplana have conspired with RCBSD and its counsel to

effectuate a post-petition transfer of the Debtor’s assets.

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3. As to Rev. Gallagher, misrepresenting to others the nature and effect
of orders of this Court. [See Letter of Michael Gallagher dated March 17, 2007
at Ex. “A” attached to Decl. of Michael Zimmer filed March 30, 2007, D.E.
#167]

4. As to Rev. Orsborn, misrepresenting to others the nature and effect
of orders of this Court. [See Special Communication of Rev. Bruce Orsborn
dated March 29, 2007 at Ex. “A” attached to Decl. of Rosa Lopez-Gonzalez
filed April 2, 2007, D.E. #174]

This Court orders the Respondents to show cause, if any, why they
should not be cited for contempt of court pursuant to 11 U.S.C. § 105(a) and
Fed. R. Bankr. P. 9011 (b) and (c)(1)(B) or otherwise appropriately sanctioned,
including, but not limited to revocation of Ms. Boswell’s pro hac vice
authorization to appear in this Court. Response, if any, must be filed by
declaration filed electronically under penalty of perjury no later than 5:00 p.m.
April 10, 2007.

Dated:_F Mo rb7 (ou lal hl

 

LOUISA DE CARL ADLER, Judge

 

 
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[Revised July 1985]

 

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIF

 

 

Case No. 07-00939-A11
Case Name: THE ROMAN CATHOLIC BISHOP
OF SAN DIEGO, etc.

CERTIFICATE OF MAILING

The undersigned, a regularly appointed and qualified clerk in the Office of the United
States Bankruptcy Court for the Southern District of California, at San Diego, hereby
certifies that a true copy of the attached document, to-wit:

ORDER TO SHOW CAUSE RE: CONTEMPT
OR OTHER SANCTIONS

was enclosed in a stamped and sealed envelope and mailed to the following parties at their
respective addresses listed below:

SEE ATTACHED

The envelope(s) containing the above document was deposited in a regular United
States mail box in the City of San Diego in said district on April 9, 2007.

 

CAD 168

 

 

 
 

CERTIFICATE OF SERVICE-Case No. 00939-A11

Electronically mailed to:

Individually and on behalf of Roman Catholic Bishop of San Diego:
Susan G. Boswell sboswell@quarles.com

Individually and on behalf the Parishes of the Diocese of San Diego, and the
Organization of Parishes:

Jeffry Davis jadavis(omintZ.com
Victor Vilaplana vavilaplana@toley.com
On behalf of Rev. Michael Gallagher:

Jeffry Davis jadavis(aminyz.com
Victor Vilaplana vavilaplana@toley.com
On behalf of Rev. Bruce J. Orsborn: -

Jeffry Davis jadavis@mintz.com
Victor Vilaplana vavilaplana@foley.com

Union Bank of California: a
Sara Chenetz sara.chenetz@dlapiper.com

Official Committee of Unsecured Creditors:
James Stang stang@pszyjw.com

United States Trustee:
Tiffany Carroll tiffany. |.carroll@usdo].gov

Mailed via U.S. Mail to:

Rev. Bruce J. Orsborn
Blessed Sacrament
4551 56" Street

San Diego, CA 92115

Rev. Michael Gallagher
Our Lady of Grace
2766 Navajo Road

El Cajon, CA 92020

 

 

 
